                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

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                                          )
FRANCIS HENRY FAY,                        )
                                          )
            Plaintiff,                    )
                                          )                  Civil Action No.
            v.                            )                  18-11829-FDS
                                          )
MASSACHUSETTS COLLEGE OF ART              )
AND DESIGN,                               )
                                          )
            Defendant.                    )
__________________________________________)

                   ORDER OF DISMISSAL PURSUANT TO RULE 4(M)

SAYLOR, J.


       The complaint in this action was filed on August 29, 2018. Almost one year later, on

August 21, 2019, the Court issued a notice warning plaintiff that the action would be dismissed

unless proof of service was filed within 21 days. As of this date, there has been no return to the

Court of proof of service of the summons and complaint as required by Rule 4(m) of the Federal

Rules of Civil Procedure. See Fed. R. Civ. P. 4(m) (“If a defendant is not served within 90 days

after the complaint is filed, the court—. . . —must dismiss the action without prejudice against

that defendant or order that service be made within a specified time.”).

       Accordingly, it is hereby ORDERED, pursuant to Rule 4(m), Fed. R. Civ. P., that this

action is DISMISSED without prejudice.
So Ordered.

                                /s/ F. Dennis Saylor

                                F. Dennis Saylor IV
Dated: September 18, 2019       United States District Judge




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